Case 3:20-cv-00133-JCH Document 150-1 Filed 08/24/20 Page 1 of 2



                           (https://yalecollege.yale.edu/)



Committee on Honors and
Academic Standing (CHAS)



Purpose
To enforce, interpret, and apply the Academic Regulations (and to
consider petitions for exceptions)

To administer the awards of General Honors and Distinction in the
Major

To consider proposals for Special Term Courses and Special Divisional
Majors




Detailed description
Handbook for Directors of Undergraduate Studies in Yale College
(http://catalog.yale.edu/dus/committee-honors-academic-standing/)




Types of members
Yale College Dean’s Office administrators

University faculty

Registrar’s Office staff

Undergraduate students
Case 3:20-cv-00133-JCH Document 150-1 Filed 08/24/20 Page 2 of 2



Roster for 2019-20
             (https://yalecollege.yale.edu/)


Mark Schenker, Chair

Sarah Insley, Secretary

Dana Angluin

Benjamin Glaser

Jason Shaw

Kirk Wetters

Daria Vander Veer, ex officio

Helena Lyng-Olsen, PC '22

Keshav Raghavan, MY '21




 (https://yalecollege.yale.edu/)



Copyright © 2020 Yale University (https://www.yale.edu/)
All Rights Reserved
